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                           UNITED STATES DISTRICT COURT
11
            NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION
12
                                             Case No. 3:09-CV-05718-RS
13   NETLIST, INC.,
                                             ORDER GRANTING
14        Plaintiff,                         ADMINISTRATIVE MOTION TO
                                             CONSIDER WHETHER ANOTHER
15               v.                          PARTY’S MATERIAL SHOULD BE
                                             SEALED
16   GOOGLE LLC,
                                             Judge: Hon. Richard Seeborg
17        Defendant.

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                                                              Case No. 3:09-CV-05718-RS
         ORDER GRANTING MOTION TO CONSIDER WHETHER ANOTHER PARTY’S MATERIAL SHOULD
                                                                            BE SEALED
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 1                                              ORDER
 2         Before the Court is Netlist Inc.’s Administrative Motion to Consider Whether Another Party’s
 3 Material Should Be Sealed (“Motion”). Having considered the Motion, supporting declaration,
 4 and other papers on file, and good cause having been found, the Court ORDERS as follows:
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 6   Document          Party Claiming Court’s Ruling on              Basis for Sealing Portion of
     Sought to Be      Confidentiality Motions to Seal               Document
 7   Sealed
 8   Joint Case        Google             GRANTED as to              Narrowly tailored to protect
     Management                           redacted portions at:      highly confidential and
 9   Conference                           3:10-11, 4:6, 5:8, 5:11-   proprietary information regarding
     Statement                            14, 5:26-28, 6:8-9,        Google’s internal servers and
10                                        6:12-15, 7:5-7, 7:15-18,   components therefore, including
                                          7:20-24, 7:28, 8:3-4,      details related to the various
11                                        8:6-7, 8:11-12, 8:13-17,   memory modules that Google
12                                        10:2-3, 10:6, 15:15-16,    uses in those servers and
                                          15:18, 17:11-14, 19:9-     information related to third
13                                        18.                        parties for which Google is under
                                                                     an obligation to protect, that
14                                                                   Google maintains as confidential
                                                                     in the ordinary course of its
15                                                                   business and is not generally
16                                                                   known to the public or Google’s
                                                                     competitors.
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18         SO ORDERED.
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20 DATED: May 12, 2022
                                                      HON. RICHARD SEEBORG
21                                                    United States District Judge
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                                                               Case No. 3:09-CV-05718-RS
          ORDER GRANTING MOTION TO CONSIDER WHETHER ANOTHER PARTY’S MATERIAL SHOULD
                                                                             BE SEALED
